








		







NUMBER 13-09-00483-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG






IN RE JOE CORONADO






On Petition for Writ of Mandamus.






MEMORANDUM OPINION



Before Chief Justice Valdez and Justices Yañez and Benavides


Memorandum Opinion Per Curiam (1)



	Relator, Joe Coronado, filed a petition for writ of mandamus in the above cause on
August 21, 2009, through which he complains that the trial court erred in failing to rule on,
and grant, his motion for a nunc pro tunc judgment reflecting the time credit to which relator
is allegedly entitled.  The Court requested a response from the real party in interest, the
State of Texas, acting by and through the Criminal District Attorney of Nueces County,
Texas.

	The real party in interest has now filed an unopposed motion to dismiss this petition
for writ of mandamus.  According to the motion, the matters in this original proceeding have
been resolved and the petition has been rendered moot. 

	The Court, having examined and fully considered the petition for writ of mandamus
and the unopposed motion to dismiss, is of the opinion that the parties are entitled to the
relief sought. Accordingly, the motion to dismiss is GRANTED, and the petition for writ of
mandamus is DISMISSED AS MOOT without reference to the merits thereof. 


								PER CURIAM



Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and filed

this 28th day of August, 2009.

				


								

1.  See Tex. R. App. P. 52.8(d) ("When denying relief, the court may hand down an opinion but
is not required to do so."); Tex. R. App. P. 47.4 (distinguishing opinions and memorandum opinions).

